     Case 1:19-cv-00614-JTN-ESC ECF No. 2 filed 07/30/19 PageID.50 Page 1 of 1 Reset Form
W DMI Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1 or Fed. R. Crim. P. 12.4 (4/06)




                                            UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF MICHIGAN
Anthony Daunt; Tom Barrett; Aaron Beauchine; Kathy
Berden; Stephen Daunt; Gerry Hildebrand; Gary
Koutsoubos; Linda Lee Tarver; Patrick Meyers; Marian
Sheridan; Norm Shinkle; Mary Shinkle; Paul Sheridan;
Bridget Beard; Clint Tarver
                      Plaintiff(s),                                             Case No.

v.

Jocelyn Benson
            Defendant(s).
__________________________________/


            DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST


Pursuant to Federal Rule of Civil Procedure 7.1,                                   _________________________________
                                                                                                       (Party Name)
makes the following disclosure:

           1. Is party a publicly held corporation or other publicly held entity?                                      Yes   ✔ No

           2. Does party have any parent corporations?          Yes ✔ No
              If yes, identify all parent corporations, including grandparent and great-grandparent
              corporations:




           3. Is 10% or more of the stock of party owned by a publicly held corporation or other
              publicly held entity?      Yes ✔ No
              If yes, identify all such owners:




           4. Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?    Yes ✔ No
              If yes, identify entity and nature of interest:




Date: __________________________                                                ___________________________________
                                                                                                         (Signature)
